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                DAVID ROVINSKY LLC
              8
              9                       UNITED STATES DISTRICT COURT
              10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
              11
              12 DAVID ROVINSKY LLC, a Delaware            Case No. 2:20-CV-02580-ODW-AS
                 limited liability company,
              13                                           PLAINTIFF DAVID ROVINSKY
                               Plaintiff,                  LLC’S NOTICE OF SETTLEMENT
              14                                           OF ENTIRE ACTION
                       vs.
              15                                           Judge: Otis D. Wright II
                 PETER VOUTSAS aka PETER
              16 MARCO aka PETER VOUTSAS, aka              Complaint filed: 3/18/20
                 PETER MARCO EXTRAORDINARY
              17 JEWELS OF BEVERLY HILLS, dba
                 PETER MARCO LLC,
              18
                               Defendants.
              19
              20 JONA S. RECHNITZ, an individual;
                 RACHEL RECHNITZ, an individual;
              21 LEVIN PRADO aka LEVON PRADO,
              22             Third Party Defendants.
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LOS ANGELES
                        PLAINTIFF DAVID ROVINSKY LLC’S NOTICE OF SETTLEMENT OF ENTIRE ACTION
         Case 2:20-cv-02580-ODW-AS           Document 108      Filed 07/29/21   Page 2 of 2 Page ID
                                                   #:1259



               1         TO THE HONORABLE OTIS D. WRIGHT II AND TO ALL PARTIES
               2 AND THEIR ATTORNEYS OF RECORD:
               3         Plaintiff David Rovinsky LLC (“Plaintiff”) hereby informs the Court that
               4 Plaintiff and Defendant Peter Voutsas aka Peter Marco aka Peter Voutsas, aka Peter
               5 Marco Extraordinary Jewels of Beverly Hills, dba Peter Marco LLC have fully
               6 settled the present action. The settlement will include a dismissal of the entire action
               7 with prejudice. The parties anticipate that they will file a stipulation to effect the
               8 above dismissal in the near future.
               9
              10 Dated: July 29, 2021                   LARSON LLP
              11
              12
                                                        By: /s/ Stephen G. Larson
              13
                                                             Stephen G. Larson
              14                                             Hilary Potashner
              15                                             R.C. Harlan
                                                        Attorneys for Plaintiff
              16                                        DAVID ROVINSKY LLC
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LOS ANGELES                                                   2
                          PLAINTIFF DAVID ROVINSKY LLC’S NOTICE OF SETTLEMENT OF ENTIRE ACTION
